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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


ROLANDO PENATE,
                   Plaintiff                             NO. 17-CV-30119-KAR

v.
ANNE KACZMAREK, ET AL.,
                   Defendants


           MEMORANDUM IN SUPPORT OF DEFENDANT KRIS FOSTER’S
                          MOTION TO DISMISS

       The defendant, Kris Foster, moves to dismiss the claim against her asserted by the

plaintiff, Rolando Penate, pursuant to Fed. R. Civ. P. 12(b)(6). Although Foster disputes the

allegations contained in the Complaint, she acknowledges that under Rule 12(b)(6), the well-

pleaded factual allegations set forth in the Complaint must be accepted as true for purposes of

this motion. Even assuming the well-pleaded allegations of the Complaint are true (which they

are not), the claim against Foster must be dismissed.

       As explained in greater detail below, controlling Supreme Court and First Circuit

authority, including Imbler v. Pachtman, 424 U.S. 409 (1976) and Reid v. New Hampshire, 56

F.3d 332 (1st Cir. 1995), mandates dismissal of the claim against Foster on the ground of

absolute immunity. Pursuant to this controlling authority, Foster is entitled to absolute immunity

because the claim arises from her advocacy on behalf of the Commonwealth during ongoing

criminal proceedings. Indeed, the First Circuit in Reid expressly held that the failure to disclose

exculpatory evidence --- the precise allegation made here --- falls squarely within the grant of

absolute immunity. Reid, 56 F.3d at 336-37.
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         Moreover, the claim against Foster must be dismissed for the additional reason that the

Complaint never alleges that Foster, a lawyer “inexperienced” with subpoenas and motions to

quash, ever reviewed the evidence at issue or appreciated that it was exculpatory. Whether or

not Foster should have reviewed that evidence and should have understood its exculpatory

import, these missteps would amount at most to negligence, falling far short of the intentional or

reckless disregard of plaintiff’s constitutional rights needed to state a claim under 42 U.S.C. §

1983.

                            ALLEGATIONS OF THE COMPLAINT

         A. General Allegations Concerning Sonia Farak and the Drug Lab

         The claims asserted against Foster in this case arise from discovery motions and requests

filed by the plaintiff, a former criminal defendant, who was seeking to challenge his criminal

charges and subsequent conviction due to the misconduct of the state laboratory chemist who had

tested the substances sold by the plaintiff in the course of three undercover drug purchases.

(Complaint, ¶¶ 110-18, 142-43, 166, 240, 278). 1 That chemist, Sonia Farak, ultimately pled

guilty to evidence tampering and drug charges arising from her theft and consumption of

controlled substances from the drug lab. (¶¶ 82-92, 381).

         B. The Exculpatory Evidence

         In January 2013, law enforcement seized approximately 300 pages of paper from Farak’s

vehicle. (¶¶ 198, 201). The documents included mental health worksheets, which evidently

memorialized Farak’s use of controlled substances at the drug lab --- including on December 22,

2011, one of the days on which Farak reported testing a sample in the plaintiff’s criminal case.

(¶¶ 146, 201, 203, 205). In the inventory prepared by law enforcement, the mental health

worksheets were listed as “assorted lab paperwork.” (¶¶ 208-210).
1
    All paragraph references are to the Complaint.
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       C. Foster’s Alleged Role

       On August 22, 2013, the plaintiff served subpoenas on the lead Farak prosecutor,

Assistant Attorney General Anne Kaczmarek, and Sgt. Joseph Ballou of the Massachusetts State

Police (assigned to the Massachusetts Attorney General’s Office (“the AGO”), directing them to

produce evidence relating to Farak’s misconduct, including inter- and intra-office

correspondence concerning the scope of evidence tampering or deficiencies at the Amherst Drug

Laboratory. (¶ 249).

       The following day, the Chief of the AGO’s Criminal Appeals Division, Randall Ravitz,

assigned Foster to handle the AGO’s response to the subpoenas. (¶ 253). At that time, Foster

had been with the AGO for only six weeks, and she had no experience responding to subpoenas

or filing motions to quash. (¶ 254). Ravitz provided Foster with sample briefs he had filed in

prior cases seeking to quash subpoenas. (¶¶ 259, 260).

       An evidentiary hearing on various motions by defendants seeking discovery concerning

Farak’s misconduct was scheduled for September 9, 2013. (¶ 286). Ballou was served with a

new subpoena duces tecum for the September 9 hearing that called for the “production of all

documents and photographs pertaining to the investigation of Sonja Farak and the Amherst Drug

Lab.” (¶ 263). Foster was assigned to respond to this new subpoena. (¶ 265).

       The Complaint alleges that at some point during two AGO meetings to discuss the

subpoena, Kaczmarek informed her colleagues that she and Ballou possessed undisclosed copies

of Farak’s mental health worksheets. (¶ 273). Kaczmarek claimed these documents were

irrelevant to “Farak defendants” like the plaintiff and should not be produced given the fact that

several contained information concerning Farak’s mental health treatment. (¶ 274).




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       On September 6, 2013, Foster filed a motion to quash the Ballou subpoena. (¶ 275). In

the alternative, the motion sought a protective order to restrict the scope of the subpoena by not

requiring the AGO to produce seven types of information, including “emails responsive to the

subpoena, but not already contained in the case file specifically listed therein” and “information

concerning the health or medical or psychological treatment of individuals.” (¶ 276). The

plaintiff also sought copies of Farak’s personnel file, including copies of her performance

evaluations. (¶ 283).

       The Complaint alleges that prior to the hearing on September 9, 2013, Irwin and Foster

instructed Ballou not to divulge the existence of the mental health worksheets. (¶ 286). At the

hearing, Judge Kinder denied the motion to quash the Ballou subpoena insofar as it called for

Ballou’s testimony. (¶ 287). With respect to Foster’s request for a protective order, Foster

acknowledged that she had not reviewed any documents in Ballou’s possession and that Ballou

had not brought his file to the hearing. (¶ 288). Rather than delay the hearing, Judge Kinder told

her to review Ballou’s file and submit copies of any undisclosed documents for an in camera

review. (¶ 289).

       In e-mails exchanged after the hearing, Foster informed her superiors at the AGO that

that while it was unclear what Judge Kinder was “looking for . . . [,] Sergeant Ballou did testify

that he thinks everything in his file has already been turned over.” (¶ 301). According to the

Complaint, Kaczmarek decided to embrace an unduly restrictive interpretation of the term “file”

and advised Foster there was no need to produce any additional documents for Judge Kinder’s in

camera review. (¶ 304). On September 16, 2016, Foster sent a letter to Judge Kinder stating

“After reviewing Sergeant Ballou’s file, every document in his possession has been disclosed.

This includes grand jury minutes and exhibits, and police reports.” (¶ 305).



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       The plaintiff later filed a motion to inspect the physical evidence in the Farak case, as

well as motions for third-party discovery from the AGO and Department of Public Health. (¶

309). Foster filed oppositions on behalf of the AGO and DPH to the plaintiff’s motion for third

party records. (¶ 314). Ravitz approved these pleadings before Foster filed them. (¶ 315). In

response to the plaintiff’s request for evidence suggesting third-party knowledge of Farak’s

tampering, Foster stated: “The AGO has turned over all grand jury minutes, exhibits, and police

reports in its possession to the District Attorney’s office. Based on these records, to which the

defendant has access, there is no reason to believe that a third party had knowledge of Farak’s

alleged malfeasance prior to her arrest.” (¶ 316).

       On October 2, 2013, the parties appeared before Judge Kinder for a hearing on the

plaintiff’s discovery motions, which focused on the plaintiff’s efforts to obtain a physical

inspection of the evidence seized from Farak’s vehicle, intra-office communications, and Farak’s

personnel file. (¶ 312). With respect to the motion to inspect physical evidence, Foster

characterized the undisclosed items in Farak’s car as “irrelevant,” although she had not reviewed

the evidence. (¶ 325). Judge Kinder ultimately denied this motion based, apparently based in

part on testimony by Ballou that “the physical evidence ha[d] been described in detail for

[Plaintiff] and photographs of that evidence have been provided.” (¶ 326). As for the request

for the personnel file, Judge Kinder asked Foster whether she had reviewed Farak’s personnel

file, to which she had responded that she had not. Judge Kinder declined to order the production

of the personnel file. (¶¶ 322-23).

       Finally, with respect to the AGO’s intra-office correspondence, Foster took the position

that “almost all of that is going to be work-product preparation,” though she acknowledged that

the AGO had not compiled all of the possible correspondence. (¶ 328). Foster also told Judge



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  Kinder that she had talked to Kaczmarek and Ballou and both assured her “there’s no smoking

     gun.” (¶ 332).

            On November 4, 2013, Judge Kinder denied a motion to dismiss filed by the plaintiff,

     concluding that Farak’s “misconduct, while deplorable, postdate[d] the testing in [the plaintiff’s]

     case.” (¶¶ 341-342).

            On November 25, 2013, Foster filed motions to quash the plaintiff’s subpoenas to

     Kaczmarek and Ballou. (¶ 345). Ravitz approved these pleadings before Foster filed them. (¶¶

     346). Judge Page granted the motions to quash on December 4, 2013. (¶ 351).

            On December 11, 2013, the trial judge allowed the plaintiff’s motion for a required

     finding of not guilty on various firearms-related charges. (¶ 376). On December 13, 2013, the

     jury acquitted the plaintiff of all remaining offenses with the exception of a single count of

     Distributing a Class A Substance on November 15, 2011. (¶ 376).

            On January 6, 2014, Farak pled guilty to evidence tampering and drug-related charges. (¶

     381). On July 30, 2014, the plaintiff’s defense attorney obtained an order to inspect the

     “assorted lab paperwork” in an unrelated Hampshire County case. (¶ 382). The inspection

     uncovered the Farak mental health worksheets. (¶ 383). On May 21, 2015, Plaintiff filed a

     motion for a new trial. (¶ 387). Judge Carey dismissed the plaintiff’s prosecution on June 26,

     2017. (¶ 395).

                                               ARGUMENT

I.          THE DEFENDANT HAS ABSOLUTE IMMUNITY BECAUSE SHE WAS
            ACTING AS AN ADVOCATE FOR AN AGENCY OF THE COMMONWEALTH

            Two propositions regarding absolute immunity are beyond dispute. First, a lawyer acting

  as a prosecutor is absolutely immune from suit under 42 U.S.C. §1983 when she acts as an

  advocate for the government in activities that are “intimately associated with the judicial phase


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of the criminal process.” Imbler v. Pachtman, 424 U.S. 409, 430-31 (1976). Second, this

absolute immunity extends to a lawyer who is accused of surpressing exculpatory evidence and

lying to the court about the existence of that evidence. Reid v. New Hampshire, 56 F.3d 332,

336-37 (1st Cir. 1995). See Campbell v. Maine, 787 F.2d 776, 778 (1st Cir. 1986). Goodwin v.

Jones, 2016 WL 3581998, *2 (D. Mass. June 27, 2016); Aldrich v. Cambridge, 2012 WL

6622495, *8 (D. Mass. Dec. 18, 2012); Almeida v. Fall River, 2012 WL 3548063, *7 (D. Mass.

Aug. 13, 2012); Cignetti v. Healey, 89 F. Supp. 2d 106, 117 (D. Mass. 2000).

       The First Circuit’s holding in Reid is fully consistent with the position taken by the Court

of Appeals of every Circuit. See, e.g. Warney v. Monroe County, 587 F. 3d 113, 124-26 (2d Cir.

2009); Yarris v. Delaware County, 465 F. 3d 129, 137 (3d Cir. 2006); Carter v. Burch, 34 F.3d

257, 262-63 (4th Cir. 1994); Cousin v. Small, 325 F.3d 627, 635 (5th Cir. 2003); Koubriti v.

Convertino, 593 F.3d 459, 470 (6th Cir. 2010); Houston v. Partee, 978 F.2d 362, 365-66 (7th Cir.

1992); Reasonover v. St. Louis County, 447 F.3d 569, 579-80 (8th Cir. 2006); Broam v. Brogan,

320 F.3d 1023, 1030 (9th Cir. 2003); Esquibal v. Brian Williamson, 421 Fed. Appx. 813, 815-16

(10th Cir. 2010); Bonilla v. United States, 652 Fed. Appx. 885, 892 (11th Cir. 2016); Moore v.

Valder, 66 F.3d 189, 194 (D.C. Cir. 1995). One could add to this list literally hundreds of

District Court decisions reaching the same result.

       The plaintiff would apparently acknowledge these bedrock principles, but tries to plead

around them. In Paragraph 436, he alleges:

               The aforesaid conduct by defendants KACZMAREK, FOSTER, and
               RAVITZ occurred at times when they were not acting functionally as
               prosecutors but as third-party evidence custodians acting in
               conjunction with and on behalf of the prosecuting agency.

As an initial matter, this allegation is conclusory and is not a well-pleaded fact. But more

fundamentally, it misapprehends the scope of absolute immunity and the test to be applied in

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determining whether a government lawyer is entitled to immunity. Absolute immunity is not

limited to prosecutors. The focus in determining whether a lawyer is entitled to absolute

immunity is not on the lawyer’s title or status, but on “the functional nature of the activities” that

are being challenged. Imbler, 424 U.S. at 430; see also Knowlton v. Shaw, 704 F.3d 1, 5-6 (1st

Cir. 2013).

       Foster was acting at all times as an advocate for an agency of the Commonwealth in

handling the AGO’s response to discovery requests, which the Complaint makes absolutely

clear. According to the plaintiff, Foster filed two motions to quash subpoenas (¶¶275, 345); filed

an opposition to a motion to inspect evidence (¶314); filed a motion to reconsider the court’s

ruling on the motion to inspect evidence (¶337); attended two court hearings on the various

motions as attorney for the AGO at which she presented the AGO’s position on the motions (¶¶

288, 322); and wrote a letter to a judge on behalf of the AGO in response to an order at one of

the hearings (¶305). Her advocacy “persuaded Judge Kinder to issue an order on October 23,

2013, relieving the AGO of the obligation to produce any of its internal correspondence” (¶340),

and persuaded Judge Page to quash the subpoena requesting the mental health worksheets

(¶351). These are the kinds of things a lawyer acting as an advocate does. Because Foster was

acting as an advocate in “the judicial phase of the criminal process,” she is absolutely immune

from suit.

       In determining whether to grant absolute immunity to a government lawyer, a court

considers three factors:

               (1) Whether a historical or common law basis exists for immunity
               from suit arising out of the performance of the function, (2) whether
               performance of the function poses obvious risks of harassing or
               vexatious litigation against the official, and (3) whether there exist
               alternatives to damage suits against the official as a means of
               redressing wrongful conduct. Hootstein v. Collins, 928 F. Supp. 2d

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               326, 336 (D. Mass. 2013), citing Mitchell v. Forsyth, 472 U.S. 511,
               521-23 (1985).

In this case, each of these factors militates in favor of absolute immunity.

       A.      There Is A Historical Basis For Absolute Immunity In This Context

       Judicial and quasi-judicial immunity have deep roots in common law. See Imbler, 424

U.S. at 423 n. 20. That immunity applies to suits under §1983. In Imbler v. Pachtman, the

Supreme Court held that prosecutors were entitled to absolute immunity. Since Imbler, absolute

immunity has been extended to government lawyers in a wide variety of contexts. In Butz v.

Economou, 438 U.S. 478 (1978), the Court extended absolute immunity to lawyers representing

the government in administrative proceedings. In Moniz v . Hall, 2011 WL 487833 *8 (D. Mass.

Feb. 7, 2011) and Dinsdale v. Commonwealth, 424 Mass. 176, 180-182, 675 N.E. 2d 374, 377-

78 (1997), absolute immunity was conferred on government lawyers involved in civil litigation

on behalf of the Commonwealth. It has even been extended to government lawyers who decline

to bring civil litigation. See Mangiafico v. Blumenthal, 471 F.3d 391, 397 (2d Cir. 2006).

       The critical factor in deciding whether absolute immunity is appropriate is not whether

the lawyer was acting as a prosecutor or whether the proceeding was criminal or civil. Rather,

the critical factor is what the lawyer was doing in the proceeding. Where the government lawyer

was acting as an advocate in a judicial proceeding, she is entitled to absolute immunity.

Absolute immunity is unavailable to a government lawyer only where she was acting “in the role

of an administrator or investigative officer rather than that of advocate.” In those cases, she is

entitled to qualified immunity. Imbler, 424 U.S. at 430-31. The Supreme Judicial Court has

described the dichotomy this way:

               As with government prosecutors, the cloak of absolute immunity
               extends only to the attorney’s performance of standard advocacy
               functions for the Commonwealth. Where the challenged activity is
               beyond the realm of litigation and involves assistant attorneys general
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               in roles other than that of advocates, the activity is protected only by
               qualified immunity. Dinsdale, 424 Mass. at 181, 675 N.E. 2d at 378.

See also Kalina v. Fletcher, 522 U.S. 118, 127 (1997) (government lawyer entitled to

absolute immunity “when performing the traditional functions of an advocate.”).

       Everything the plaintiff alleges Foster did or failed to do falls within the traditional

functions of an advocate. She responded to subpoenas, she filed motions resisting the

subpoenas, and she appeared and argued in court on behalf of the Commonwealth. These are not

“administrative” or “investigative” functions. They are standard advocacy functions under any

definition of that term.

       Foster is entitled to absolute immunity for her conduct as a government advocate, and

the claims against her must be dismissed, notwithstanding the plaintiff’s characterization of her

actions as involving an intentional failure to disclose exculpatory evidence and her status as a

mere “custodian.” First, there is no “bad faith” exception to absolute immunity. Campbell, 787

F.2d at 778, citing Imbler, 424 U.S. at 430-31 (no bad faith exception for withholding

exculpatory evidence). If a government lawyer is acting as an advocate on behalf of the

Commonwealth, as the Complaint alleges Foster was, she is entitled to absolute immunity

regardless of how the plaintiff chooses to characterize the lawyer’s intent. See Suboh v. Revere,

141 F. Supp. 2d 124, 137 (D. Mass. 2001) (“When a [lawyer] is enshrouded in absolute

immunity, the protection is not eroded no matter how erroneous the act may have been, how

injurious its consequences, or how malicious the motive.”).

       Second, Foster’s entitlement to absolute immunity for representing the Commonwealth in

Court cannot be defeated by the verbal trick of calling her a “third-party evidence custodian.”

(¶436). This phrase was obviously designed to convey the impression that Foster was a passive

receptical for evidence, rather than an advocate in a criminal case. The phrase, whatever the

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plaintiff intended it to mean, is utterly inconsistent with the actions the Complaint alleges Foster

undertook. The allegations of the Complaint show that Foster, in responding to the subpoenas,

had to decide which documents were responsive, what privileges applied, what disclosure

obligations existed and how they could properly be met, and then presenting and defending those

positions in court in a criminal prosecution. These allegations describe the discretionary actions

of a lawyer acting as an advocate, not those of a “custodian.” The plaintiff’s semantic maneuver

does not deprive Foster of absolute immunity because her entitlement is not determined by labels

but by an analysis of “the functional nature of the activities” that are being challenged. Imbler,

424 U.S. at 430.

       B.      Public Policy Factors Warrant Absolute Immunity

       There is a very real concern that government attorneys can be subjected to vexatious

litigation arising out of their role in judicial proceedings. “The judicial process is an arena of

open conflict, and in virtually every case there is, if not always a winner, at least one loser. It is

inevitable that many of those who lose will pin the blame on judges, prosecutors, or witnesses

and will bring suit against them in an effort to relitigate the underlying conflict.” Mitchell v.

Forsyth, 472 U.S. 511, 521-22 (1985). The danger of vexatious litigation, and the corresponding

need for absolute immunity, is most acute where the lawyer’s conduct is “closely related to the

judicial process,” and involves the lawyer’s “role in judicial proceedings.” Burns v. Reed, 500

U.S. 478, 494 (1991). See Dinsdale, 424 Mass. at 181, 675 N.E.2d at 377 (“conducting civil

litigation on behalf of the government poses obvious risks of entanglement of such attorneys in

vexatious and burdensome litigation by disgruntled litigants.”).

       Note that the public policy concern of avoiding vexatious litigation does not depend on

whether a particular case in which a lawyer is acting as an advocate for the Commonwealth will

or will not result in vexatious litigation. See Id. at 181 n. 9, 675 N.E.2d at 377 n. 9 (“To the
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extent that the defendants suggest Dinsdale is a ‘disgruntled litigant,’ we think that on these facts

he is understandably and justifiably so.”). Rather, the policy is based on concerns arising out of

the role the lawyer was playing in the proceeding. The plaintiff’s allegations against Foster

easily satisfy these concerns. They raise much more than “a generalized concern with

interference with an official’s duties . . . .” Rather, the plaintiff expressly alleges actions Foster

took that “closely related to the judicial process,” and the gist of the Complaint concerns Foster’s

“role in judicial proceedings.” Burns, 500 U.S. at 494.

        C.      There Exist Alternatives to Damage Suits To Redress Wrongful Conduct

        There are at least three avenues available to redress and deter wrongful conduct by

government lawyers in criminal cases. First, there are remedies available in an underlying

criminal case. These include such things as sanctions or contempt against the lawyer. Dinsdale,

424 Mass. at 181, 675 N.E.2d. at 377; Moniz, 2011 WL 487833 *9 n. 7. They also include the

standard post-conviction remedies available to the criminal defendant. Second, there are bar

disciplinary proceedings to deter and punish conduct proscribed by the Rules of Professional

Conduct. Id. Third, plaintiffs who believe they were wrongfully convicted may file a claim for

compensation under the Massachusetts erroneous conviction statute, G.L. c. 258D.

        Taken together, these remedies provide ample opportunity for redress. But even if they

didn’t, and there were no avenue for redress, this is a risk that must be accepted. As Judge

Learned Hand observed:

                As is so often the case, the answer must be found in a balance between
                the evils, inevitable in either alternative. In this instance, it has been
                thought in the end better to leave unredressed the wrongs done by
                dishonest officers than to subject those who try to do their duty to the
                constant dread of retaliation. Gregoire v. Biddle, 177 F.2d 579, 581
                (2d Cir. 1949).




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II.       THE PLAINTIFF HAS FAILED TO STATE A CLAIM AGAINST FOSTER
          UNDER § 1983 BECAUSE THE WELL-PLEADED FACTS DO NO ESTABLISH
          AN INTENTENTIONAL OR RECKLESS DEPRIVATION OF PLAINTIFF’S
          RIGHTS

          The absolute immunity doctrine mandates dismissal of the claim against Foster for the

  reasons outlined above. The claim is also subject to dismissal for the separate and independent

   reason that the well-pleaded factual allegations of the Complaint fail to show that Foster

   intentionally or recklessly deprived the plaintiff of his constitutional rights.

          It is settled law that merely negligent conduct is not actionable under § 1983. Germany

   v. Vance, 868 F.2d 9, 17-18, 21 (1st Cir. 1989). Instead, what is required is either an intentional

   interference with the plaintiff’s constitutional rights or “reckless or callous indifference when it

   would be manifest to any reasonable official that his conduct was very likely to violate an

   individual’s constitutional rights.” Id. at 17-18. Such reckless or callous indifference may fall

   short of intentional or willful conduct yet still exemplify “the arbitrary exercise of the powers of

   government” animating the protections of the Due Process Clause. Id. at 18. (quotation

   omitted). “Negligence, in contrast – no matter how ‘gross’ it may be – exemplifies lack of care,

   rather than abuse of power.” Id. The failure to disclose exculpatory information will rise to the

   level of reckless indifference only where “the information is of such obvious import that

   withholding it would appear very likely to lead to a miscarriage of justice.” Id. at 19.

          In Germany, for example, which involved a juvenile offender committed to the care of

   the Massachusetts Department of Youth Services (“DYS”), DYS employees were told by the

   juvenile’s parents that they had fabricated the charge that had led their child being placed in DYS

   custody. Id. at 11. This information was not shared with the juvenile or the state court that had

   adjudged her a delinquent child. Id. Although the First Circuit agreed with the District Court

   that the failure to disclose important exculpatory evidence could constitute a violation of the


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plaintiff’s right of access to the courts, it ruled that summary judgment in the plaintiff’s favor

was not warranted because the record did not clearly establish that the defendants appreciated the

significance of the parents’ statement, which would be required to ground a claim that they were

recklessly indifferent to the juvenile’s rights. Id. at 16, 18-19.

       Here, the crux of the plaintiff’s claim against Foster is that she failed to disclose Farak’s

mental health worksheets, which contained exculpatory evidence. The Complaint does not

contain any well-pleaded factual allegations, however, that Foster knew what was contained in

the mental health worksheets or appreciated their possible exculpatory significance. Quite the

opposite: the Complaint alleges that Foster, who was new to the Office of the Attorney General

and inexperienced in responding to subpoenas (¶ 254), never reviewed the mental health

worksheets (¶¶ 258, 274, 288), and was told by the lead Farak prosecutor, Anne Kaczmarek, that

the mental health documents were irrelevant and that there was no need to produce any

documents not already furnished to the Farak defendants -- apparently based, at least in part, on

Kaczmarek’s interpretation of what constituted “the file” -- (¶¶ 274, 304), and that there was no

exculpatory “smoking gun.” (¶ 332).

       Moreover, the Complaint also alleges that Ballou testified, or at least implied, that all the

evidence seized from Farak’s vehicle had been photographed and that Foster understood Ballou

to have testified that everything in his file had been turned over. (¶¶ 292-293, 301). The

Complaint further suggests that Foster’s objections to the production of certain categories of

evidence on behalf of the Commonwealth were prompted by, or at least consistent with, the

guidance of her superiors. (¶¶ 260, 269, 271, 315, 338).

       Whether or not the allegations of the Complaint support the conclusion that Foster should

have reviewed the file and thus failed to exercise due care, there are no well-pleaded factual



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allegations plausibly suggesting that Foster appreciated the potential exculpatory impact of the

mental health worksheets. She did not know what they contained or reflected. Also, the

allegations of the Complaint suggest that Foster believed that everything discoverable had

already been turned over and that the Commonwealth had colorable objections to the production

of certain categories of evidence. Even if those beliefs were incorrect, or even based on a failure

to exercise due care, such alleged negligence cannot ground a claim for damages under § 1983.


                                              Defendant,
                                              KRIS FOSTER.
                                              By her attorneys,


                                              /s/Allen N. David
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DATE: December 26, 2017


                                 CERTIFICATE OF SERVICE

       I, Timothy M. Pomarole, hereby certify that I have this 26th day of December 2017,
served a copy of the foregoing document, by causing a copy thereof, to be sent electronically,
through the ECF system, to the registered participants in this case, as identified on the Notice of
Electronic Filing (NEF).

                                              /s/Timothy M. Pomarole
                                              Timothy M. Pomarole

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